                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
______________________________________________________________________________

JOHN JOHNSON,                            )
                                         )
      Plaintiff,                         )
                                         )   Case No. _______________
v.                                       )
                                         )
NATIONWIDE EXPRESS, INC.,                )
                                         )
      Defendant.                         )
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

            Pursuant to 28 U.S.C. § 1446, Defendant, Nationwide Express, Inc. (“Nationwide”),

hereby invokes the Court’s jurisdiction under 28 U.S.C. §§ 1331, 1332, and 1441, and states the

following grounds for removal:

                                              SUMMARY

            1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000, exclusive of interest and costs, and the

action is between diverse citizens.

            2.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331

because this lawsuit is completely preempted by the Employee Retirement Security Act of 1974,

as amended, (“ERISA”), 29 U.S.C. § 1001 et seq., and all the claims and causes of action in the

matter may be removed to this Court under 28 U.S.C. § 1441.




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                                            PARTIES

        3.      John Johnson (“Johnson”) is a resident of Iredell County, North Carolina.

(Compl. ¶ 1).

        4.      Contrary to Johnson’s misrepresentations in the Complaint, Nationwide is a

Tennessee Corporation with its principal place of business in Shelbyville, Tennessee.

(Declaration of Lisa McMahan ¶ 3 (“McMahan Declaration”) attached hereto as Exhibit A).

                PROCEDURAL HISTORY AND TIMELINESS OF REMOVAL

        5.      On or about January 31, 2012, Johnson filed a Complaint in the General Court of

Justice, Superior Court Division, Mecklenburg County, North Carolina entitled John Johnson v.

Nationwide Express, Inc., Case No. 12-CvS-1963.

        6.      A copy of the Summons and Complaint filed by Johnson in this action is attached

as Exhibit B.

        7.      The North Carolina Secretary of State received Service of Process on February 9,

2012. (Attached as Exhibit 1 to McMahan Declaration).

        8.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is being filed by

Nationwide in a timely manner.

                                 DIVERSITY JURISDICTION

        9.      Total diversity exists. Johnson is domiciled in, and a citizen of, North Carolina;

whereas Nationwide is a Tennessee corporation with its principal place of business in Tennessee.

        10.     The amount in controversy exceeds $75,000. As alleged in the Complaint,

Johnson seeks money damages in the amount of $25,000, attorneys’ fees, and treble damages.

(Compl. Prayer for Relief ¶¶ 1-5). This Court and the Fourth Circuit have long held that treble

damages and attorneys’ fees are properly included in determining whether the jurisdictional




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amount in controversy of $75,000 is met. Gordon v. National Business Consultants Inc., 856

F.2d 186, at *2 (4th Cir. 1988) (“his unfair trade practices claim under [N.C. Gen. Stat.] § 75-1.1

. . . may be included in determining whether a plaintiff has satisfied the amount in controversy

requirement.”) (citing 14A Wright, Miller & Cooper, Federal Practice and Procedure § 3702 at

44 (1985)); Atari v. McNeal, 159 F.Supp.2d 224, 226 (W.D.N.C. 2000) (same); Larsen v.

Assurant Inc., No. 3:09-CV-00038, 2009 WL 1676993, at *1 (W.D.N.C. 2009) (including

attorneys’ fees and treble damages to find the amount in controversy exceeded the jurisdictional

threshold of $75,000).

        11.    Removal to the Western District of North Carolina is proper. The state court from

which this action was removed and in which this Action was commenced is within this Court’s

District and Division.

                                 ORIGINAL JURISDICTION

        12.    This Court has original jurisdiction of this action under the provisions of 28

U.S.C. § 1331. As stated in his Complaint, Johnson seeks life insurance benefits under a group

life insurance policy issued by Mutual of Omaha (the “Policy”). (Compl. ¶ 9). A copy of the

Policy is attached to the McMahon Declaration as Exhibit 2. The Policy sets forth Johnson’s

ERISA rights at pages 33-36. (see McMahon Declaration ¶ 6; McMahon Declaration Ex. 2).

An action brought to recover benefits under an employee benefit plan governed by ERISA

presents a federal question and is removable under 28 U.S.C. 1441(a) and (b). Metropolitan Life

Ins. Co. v. Taylor, 481 U.S. 58, 65-66 (1987) (“Congress has clearly manifested an intent to

make causes of action within the scope of the civil enforcement provisions of Section 502(a) [of

ERISA] removable to Federal Court.”). Even when a Complaint does not appear on its face to

present a federal question, a case is removable when Congress “so completely pre-empt[s] this




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subject area that any claim is necessarily federal in character.” Id.; see also, Darcangelo v.

Verizon Communications, Inc., 292 F.3d 181, 195 (4th Cir. 2002) (“Accordingly, an action to

enforce the terms of a contract, when the contract is an ERISA plan, is of necessity an alternative

enforcement mechanism for ERISA § 502 and is therefore ‘related to’ an ERISA plan and

preempted by § 514.”).

        13.    Nationwide submits this Notice of Removal without (a) waiving any grounds for

dismissal or waiving defenses to the claims asserted by Johnson, (b) conceding that Plaintiff has

alleged claims upon which relief may be granted, or (c) conceding that Plaintiff has joined all

necessary and indispensable parties to this Action.

        14.    Contemporaneously with the filing of this Notice of Removal, Nationwide is

providing written notice of this Notice of Removal to Johnson and to the Clerk of Superior

Court, Mecklenburg County, North Carolina, as required by 28 U.S.C. § 1446(d).

        WHEREFORE, Defendant prays that the referenced action now pending against it in the

General Court of Justice, Superior Court Division, Mecklenburg County, North Carolina, be

removed to the United States District Court for the Western District of North Carolina, Charlotte

Division.

        This the 12th day of March, 2012.




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                                     s/ Marc E. Gustafson
                                     State Bar No.: 34429
                                     Counsel for Nationwide Express, Inc.
                                     Essex Richards, P.A.
                                     1701 South Boulevard
                                     Charlotte, NC 28203
                                     Telephone: 704-377-4300
                                     Fax: 704-372-1357
                                     E-mail: mgustafson@essexrichards.com

                                            AND

                                     Andrew S. Naylor
                                     (Tenn. BPR #17128)
                                     WALLER LANSDEN DORTCH & DAVIS, LLP
                                     Nashville City Center
                                     511 Union Street, Suite 2700
                                     Nashville, TN 37219
                                     Telephone: 615-244-6380
                                     Fax: 615-244-6804
                                     Andy.Naylor@wallerlaw.com
                                     Pro Hac Vice Admission Pending




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                               CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served via
first class U.S. Mail upon:

                             William F. Burns, Jr.
                             Giordano, Gordon, and Burns, PLLC
                             Ste. 230, 319 S. Sharon Amity Rd.
                             Charlotte, NC 28211


This the 12th day of March, 2012.

                                           s/ Marc E. Gustafson
                                           State Bar No.: 34429
                                           Counsel for Nationwide Express, Inc.
                                           Essex Richards, P.A.
                                           1701 South Boulevard
                                           Charlotte, NC 28203
                                           Telephone: 704-377-4300
                                           Fax: 704-372-1357
                                           E-mail: mgustafson@essexrichards.com




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